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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

KESHIA CLAIRZIER
Plaintiff,

Vs. Civil Action No. 1:12-cV-11955-FDS

VISION FINANCIAL CORPORATION,
et al.
Defendant,

`/VV`/v`.¢vvvv

 

NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY DIMISSSAL OF
ACTION WITH PRE]UDICE
PURSUANT TO RULE 41(@)

Keshia Clairzier (“Plaintiff”), by Plaintiff’s attorney, hereby Withdraws the complaint and
Voluntarily dismisses this action, With prejudice, pursuant to FED, R. CIV. P. 41(a)(1)(A)(i).

Dated: january 3, 2013

RESPECTFULLY SUBMITTED:

/s/ Kevin V. K. Crick_ Esq.

Kevin V. K. Crick

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PROOF OF SERVICE

l hereby certify that on ]anuary 3, 2013, a copy of the foregoing Was filed electronically in
accordance With the Court’s Electronic Filing Guide]ines. Notice of this filing Will be sent to all
parties by operation of the court’s electronic filing system and electronic email. Parties may access
this filing through the court’s system.

/ s / Kevin V. K. Crick. Esq.

